







		NO. 12-09-00139-CV



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




MICHAEL MARK MOORE,§
	APPEAL FROM THE 

APPELLANT


V.§
	COUNTY COURT AT LAW OF


 

TOWER SPECIALISTS, INC.,§
	NACOGDOCHES COUNTY, TEXAS

APPELLEE





MEMORANDUM OPINION


PER CURIAM


	This appeal is being dismissed for want of jurisdiction pursuant to Texas Rule of Appellate
Procedure 42.3(a).  

	The trial court's judgment was signed on January 12, 2009, and Appellant, Michael Mark
Moore, filed a motion for new trial on February 11, 2009.  When a motion for new trial is filed, the
notice of appeal must be filed within ninety days after the judgment is signed.  Tex. R. App. P.
26.1(a)(1).  Consequently, Moore's notice of appeal was due to have been filed on or before
April&nbsp;13, 2009.  However, Moore filed his notice of appeal on May 11, 2009, which was 119 days
after the judgment was signed.  

	Along with his notice of appeal, Moore filed a motion for extension of time to file the notice
of appeal.  A motion to extend the time for filing a notice of appeal must be filed within fifteen days
after the deadline for filing the notice of appeal.  Tex. R. App. P. 26.3.  Thus, Moore's motion to
extend the time for filing his notice of appeal was due to have been filed on or before April 28, 2007. 
Because Appellant did not file his motion until May 11, 2009, the motion is untimely.  



	Moore's motion for extension of time to file his notice of appeal is overruled.  Because this
court is not authorized to extend the time for perfecting an appeal except as provided by Texas Rules
of Appellate Procedure 26.1 and 26.3, the appeal is dismissed for want of jurisdiction. See Tex. R.
App. P. 42.3(a).  

Opinion delivered May 13, 2009.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.
































(PUBLISH)


